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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


         v.                                       02-cr-291

JUAN URIAS MEDINA,

                                 Defendant.

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THOMAS J. McAVOY
Senior United States District Judge

                                  DECISION and ORDER

         This matter has been remanded by the Second Circuit Court of Appeals for re-

sentencing. Defendant was originally sentenced to a term of imprisonment of 135 months.

The matter was remanded for re-sentencing pursuant to United States v. Crosby, 397

F3d 103 (2d Cir. 2005).

         The Court has considered the parties’ briefs upon re-sentencing and the original

papers submitted to the Court in connection with sentencing. Having considered the factors

in 18 U.S.C. § 3553, the Sentencing Guidelines, the policy statement found at U.S.S.G. §

5K2.19, and finding no reason to depart from the Guidelines range or the policy statement at

§ 5K2.19, the Court finds that a sentence of 135 months imprisonment was, and remains,

appropriate.

IT IS SO ORDERED.

Dated: December 29,2005
